             4:15-cr-03093-JMG-CRZ Doc # 100 Filed: 06/24/24 Page 1 of 3 - Page ID # 701
AO 245D(Rev. 09/19) Judgment in a Criminal Case for Revocations

                                       UNITED STATES DISTRICT COURT
                                                                         for the
                                                                  District of Nebraska

                 UNITED STATES OF AMERICA                                     JUDGMENT IN A CRIMINAL CASE
                                                                              (For Revocation of Probation or Supervised Release)
                                      v.
                                                                              Case Number: 4:15CR3093-001
                                                                              USM Number: 27437-047

                         ANGEL F. GARCIA                                      Richard H. McWilliams
                                                                              Defendant’s Attorney



THE DEFENDANT:
☒ admitted guilt to violation of Mandatory Condition of the term of supervision.
☐ was found in violation of condition after denial of guilt.
The defendant is adjudicated guilty of these violations:
 Violation Number                          Nature of Violation                                                  Violation Ended
 1                                         The defendant shall not commit another federal, state, or local      May 30, 2023
                                           crime.

        The defendant is sentenced as provided in pages 2 through 3 of this judgment. The sentence is imposed pursuant to the
Sentencing Reform Act of 1984.
☒ Allegations 2, 3, 4, and 5 of the Petition, filing 82, are dismissed upon the motion of the government.

         IT IS ORDERED that the defendant shall notify the United States Attorney for this district within 30 days of any change of
name, residence, or mailing address until all fines, restitution, costs and special assessments imposed by this judgment are fully paid. If
ordered to pay restitution, the defendant shall notify the court and United States attorney of any material change in the defendant’s
economic circumstances.
                                                                            June 24, 2024
                                                                            Date of Imposition of Sentence:


                                                                                s/ John M. Gerrard
                                                                                Senior United States District Judge

                                                                                June 24, 2024
                                                                                Date
             4:15-cr-03093-JMG-CRZ Doc # 100 Filed: 06/24/24 Page 2 of 3 - Page ID # 702
AO 245D(Rev. 09/19) Judgment in a Criminal Case for Revocations                               Judgment Page 2 of 3
DEFENDANT: ANGEL F. GARCIA
CASE NUMBER: 4:15CR3093-001

                                                                  IMPRISONMENT

        The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
term of twelve (12) months, said term to run concurrently with sentence imposed in Case No. 8:23cr205, with no
supervised release to follow.

☒The Court makes the following recommendations to the Bureau of Prisons:

     1. Defendant should be given credit for time served. Defendant has been detained since 10/03/23.
☒The defendant is remanded to the custody of the United States Marshal.

☐The defendant shall surrender to the United States Marshal for this district:
          ☐ at
          ☐ as notified by the United States Marshal.
☐The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
          ☐ before 2 p.m. on
          ☐ as notified by the United States Marshal.
          ☐ as notified by the Probation or Pretrial Services Office.


                                                                    RETURN

I have executed this judgment as follows:


        Defendant was delivered on ___________________________ to ______________________________________
at ________________________________, with a certified copy of this judgment.

                                                                          ________________________________________
                                                                                 UNITED STATES MARSHAL

                                                                          BY: ___________________________________
                                                                                DEPUTY UNITED STATES MARSHAL
             4:15-cr-03093-JMG-CRZ Doc # 100 Filed: 06/24/24 Page 3 of 3 - Page ID # 703
AO 245D(Rev. 09/19) Judgment in a Criminal Case for Revocations                                  Judgment Page 3 of 3
DEFENDANT: ANGEL F. GARCIA
CASE NUMBER: 4:15CR3093-001
                                                 CRIMINAL MONETARY PENALTIES

          The defendant must pay the total criminal monetary penalties in accordance with the schedule of payments set forth
in this judgment.

                  Assessment               Restitution            Fine   AVAA Assessment*           JVTA Assessment**
 TOTALS           $100.00 (PAID)           $3,000.00
                                           (PAID)

☐ The determination of restitution is deferred until . An Amended Judgment in a Criminal Case (AO245C) will be entered
  after such determination.

☐ The defendant must make restitution (including community restitution) to the following payees in the amount listed
  below.

   If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless
   specified otherwise in the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(i),
   all nonfederal victims must be paid before the United States is paid.

       Name of Payee                     Total Loss***                    Restitution Ordered               Priority or Percentage



 Totals
☐ Restitution amount ordered pursuant to plea agreement $

☐ The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full
  before the fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on
  Sheet 6 may be subject to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

☒ The court determined that the defendant does not have the ability to pay interest and it is ordered that:

   ☒ the interest requirement is waived for the ☐ fine ☒ restitution

   ☐ the interest requirement for the ☐ fine ☐ restitution is modified as follows:

*Amy, Vicky, and Andy Child Pornography Victim Assistance Act of 2018, Pub. L. No. 115-299
**Justice for Victims of Trafficking Act of 2015, Pub. L. No. 114-22.
*** Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for offenses committed
on or after September 13, 1994, but before April 23, 1996.


CLERK'S OFFICE USE ONLY:
ECF DOCUMENT

I hereby attest and certify this is a printed copy of a document which was electronically filed with the United States District
Court for the District of Nebraska.

Date Filed:__________________________________

DENISE M. LUCKS, CLERK

By ______________________________________Deputy Clerk
